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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
  Southern
 ____________________                 New York
                      District of _________________
                                       (State)
                                                            11
 Case number (If known): _________________________ Chapter _____                                                                          Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                             Standard Amusements LLC
                                           ______________________________________________________________________________________________________




2.   All other names debtor used           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer              2 ___
                                           ___ 7 – ___
                                                    5 ___
                                                       3 ___
                                                          1 ___
                                                             0 ___
                                                                9 ___
                                                                   8 ___
                                                                      2
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            1 Playland Parkway
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street


                                           ______________________________________________                P.O. Box 809
                                                                                                        _______________________________________________
                                                                                                        P.O. Box

                                             Rye                       NY       10580
                                           ______________________________________________               Rye                         NY         10580
                                                                                                        _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                 N/A
                                           ____________________________________________________________________________________________________


6.   Type of debtor
                                           ✓ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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                                                                        Pg 2 of 16
Debtor           Standard Amusements LLC
                _______________________________________________________                           Case number (if known)_____________________________________
                Name



                                            A. Check one:
7.    Describe debtor’s business
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            ✓ None of the above
                                            

                                            B. Check all that apply:

                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                 5 ___
                                                ___ 5 ___
                                                       1 ___
                                                          1

8.    Under which chapter of the            Check one:
      Bankruptcy Code is the
      debtor filing?                         Chapter 7
                                             Chapter 9
                                            ✓ Chapter 11. Check all that apply:
                                            
                                                          ✓
                                                             Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                                4/01/22 and every 3 years after that).
                                                            
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                of operations, cash-flow statement, and federal income tax return or if all of these
                                                                documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                             Chapter 12

9.    Were prior bankruptcy cases           
                                            ✓ No
      filed by or against the debtor
      within the last 8 years?               Yes.    District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY

10.   Are any bankruptcy cases              
                                            ✓ No
      pending or being filed by a
      business partner or an                 Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                        District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                           MM / DD / YYYY
      attach a separate list.                         Case number, if known ________________________________


     Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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                                                                   Pg 3 of 16
Debtor         Standard Amusements LLC
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                       ✓ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                       
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                        A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have      ✓ No
                                       
      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                   Other _______________________________________________________________________________



                                                Where is the property?_____________________________________________________________________
                                                                          Number          Street

                                                                          ____________________________________________________________________

                                                                          _______________________________________         _______     ________________
                                                                          City                                            State       ZIP Code


                                                Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________

                                                         Contact name     ____________________________________________________________________

                                                         Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                  ✓ Funds will be available for distribution to unsecured creditors.
                                       
                                        After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                       ✓ 1-49
                                                                        1,000-5,000                              25,001-50,000
14.   Estimated number of               50-99                           5,001-10,000                             50,001-100,000
      creditors
                                        100-199                         10,001-25,000                            More than 100,000
                                        200-999

                                        $0-$50,000                      $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000                $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                       
                                       ✓ $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



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Debtor         Standard Amusements LLC                                                            Case number (ilkno.vnJ _ _ _ _ _ _ _ _ _ _ _ __
               Name


                                           0    $0-$50,000                       D $1,000,001-$10 million                 0 $500,000,001-$1 billion
16.   Estimated liabilities
                                           0    $50,001-$100,000                 D $10,000,001-$50 million                D $1,000,000,001-$10 billion
                                           0    $100,001-$500,000                D $50,000,001-$100 million               D $10,000,000,001-$50 billion
                                           ~ $500,001-$1 million                 D $100,000,001-$500 million              D More than $50 billion


             Request for Relief, Declaration, and Signatures


WARNING -       Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up lo
                $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571 .



17. Declaration and signature of           11   The debtor requests relief In accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                                petition.
      debtor

                                           ><   I have been authorized to file this petition on behalf of the debtor.


                                          x     I have examined the information in this petition and have a reasonable belief that the information is true and
                                                correct.


                                          I declare under penalty of pe~ury that the foregoing is true and correct.

                                                Executed ~n " ~           /z=, I ~0   ,..
                                                        .       ~//YYYY
                                                        .\ /I              I                               Nicholas Singer
                                                                                                           Printed name

                                                Title   Authorized Person




1s. Signature of attorney
                                                                                                           Date         oc,µ tJp--0 f 9
                                                                                                                        MM     /DD/



                                                 John J. Rapisardi, Esq.
                                                Printed name
                                                O'Melveny & Myers LLP
                                                Firm name
                                                 7               Times Square
                                                Number           Street

                                                 New York                                                       NY              10036
                                                City                                                           State           ZIP Code


                                                 212-326-2063                                                     jrapisardi@omm.com
                                                Contact phone                                                  Email address




                                                 1868595                                      New York
                                                Bar number                                      State




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                        WRITTEN CONSENT OF THE MANAGER OF
                            STANDARD AMUSEMENTS LLC

                                           May 27, 2019

The undersigned, being the manager (the “Manager”) of Standard Amusements LLC, a Delaware
limited liability company (the “Company”), as set forth in the Company’s Fifth Amended and
Restated Operating Agreement, dated as of May 9, 2018 (the “Operating Agreement”), does
hereby adopt, by this written consent pursuant to Section 4.1 of the Operating Agreement, and
direct that this written consent be filed with the minutes of the Company.

I. Chapter 11 Case

WHEREAS, the Manager, in consultation with the Company’s legal advisor, has determined that
it is desirable and in the best interests of the Company and its creditors, stakeholders, and other
interested parties that the Company file a petition seeking relief under the provisions of chapter 11
of title 11 of the United States Code (the “Bankruptcy Code”).

NOW, THEREFORE, BE IT RESOLVED, that the Company is authorized and empowered to
file a petition seeking relief under the provisions of chapter 11 of the Bankruptcy Code;

RESOLVED, that any one or more persons designated as an “Authorized Person” by the Manager
(each an “Authorized Person” and collectively, the “Authorized Persons”) are authorized and
empowered, in the name and on behalf of the Company, to execute and verify all petitions under
chapter 11 of the Bankruptcy Code and to cause the same to be filed in the United States
Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”) and to
commence any ancillary or related proceedings as may be necessary or appropriate to effectuate
the restructuring of the Company and its affiliates and to execute, verify, and cause to be filed all
documents in furtherance thereof, at such time as such Authorized Person executing the same shall
determine;

RESOLVED, that in connection with the commencement of the chapter 11 case by the Company,
each Authorized Person is authorized and empowered to negotiate, execute, and deliver such notes,
security, and other agreements and instruments as such Authorized Person considers appropriate
to enable the Company to utilize cash collateral or obtain debtor in possession financing on the
terms and conditions such Authorized Person executing the same may consider necessary, proper,
or desirable, and to consummate the transactions contemplated by such notes, security, or other
agreements and instruments on behalf of the Company, subject to Bankruptcy Court approval; and
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RESOLVED, that each Authorized Person is authorized and empowered, in the name and on
behalf of the Company, to negotiate, enter into, execute, deliver, certify, file, record, and perform,
or cause to be negotiated, entered into, executed, delivered, certified, filed, recorded, and
performed, any and all petitions, schedules, lists, motions, certifications, agreements, instruments,
affidavits, acknowledgments, applications, including, without limitation, applications for
approvals or rulings of governmental or regulatory authorities, pleadings, or other documents and
to take, or cause to be taken, such other actions, as in the judgment of such Authorized Person shall
be or become necessary, advisable, proper, or desirable in connection with the Company’s chapter
11 case, such Authorized Person’s performance of any such act and his or her execution and
delivery of any such document, agreement, or instrument to be conclusive evidence of the
Authorized Person’s approval thereof.

II. Retention of Advisors

WHEREAS, the Manager has determined, in the good-faith exercise of its reasonable business
judgment, that it is desirable and in the best interests of the Company and its creditors,
stakeholders, and other interested parties for the Company to engage O’Melveny & Myers LLP as
attorneys for the Company in connection with the chapter 11 case, subject to Bankruptcy Court
approval.

NOW, THEREFORE, BE IT RESOLVED, that the Company is authorized to engage
O’Melveny & Myers LLP as attorneys for the Company in connection with the chapter 11 case,
subject to Bankruptcy Court approval; and

RESOLVED, that each Authorized Person is authorized and empowered to employ and retain all
assistance by legal counsel, accountants, restructuring advisors, and other professionals, subject to
Bankruptcy Court approval and to perform any and all further acts and deeds the Authorized
Officer deems necessary, proper, or desirable in furtherance thereof with a view to the successful
prosecution of the Company’s chapter 11 case.

III. General Authority to Implement Foregoing Resolutions

RESOLVED, that the omission from these resolutions of any agreement, document, or other
arrangement contemplated by any of the agreements, documents, or instruments described in the
foregoing resolutions or any action to be taken in accordance with any requirement of any of the
agreements, documents, or instruments described in the foregoing resolutions shall in no manner
derogate from the authority of the Authorized Persons to take all actions necessary, desirable,
advisable, or appropriate to consummate, effectuate, carry out, or further the transactions
contemplated by, and the intent and purposes of, the foregoing resolutions;

RESOLVED, that all prior lawful actions taken by any Authorized Person or any member, legal
counsel, or other representative of the Company, in the name and on behalf of the Company, in
connection with the matters described in, and within the authority conferred by, the foregoing
resolutions are authorized, ratified, and confirmed;

RESOLVED, that any one or more Authorized Persons and any one or more members, legal
counsel, and other representatives of the Company are authorized to prepare, execute, deliver, and
file any and all other documents and instruments or cause such documents and instruments to be

                                                  2
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prepared, executed, delivered, and filed, and to take any and all other lawful actions or cause such
actions to be taken, in the name and on behalf of the Company, that any such person may determine
to be necessary or appropriate to implement the intent and purposes of the foregoing resolutions
and the actions described therein.




                           Remainder of Page Intentionally Left Blank




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        IN WITNESS WHEREOF, the undersigned Manager of the Company has duly executed
 this Written Consent as of the date set forth above:



                                             PCIUP LLC
                                             By Purchase-Capital Investments LLC, its
                                             Sole Member

                                             By: -1--------:l.t--.�,==�--­
                                             Name: Nicholas Singer
                                             Title: Manager




         [SIGNATURE PAGE TO STANDARD AMUSEMENTS LLC CONSENT]
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  Fill in this information to identify the case and this filing:

  Debtor Name Standard Amusements LLC

  United States Bankruptcy Court for the Southern District of New York

  Case number (if known):



Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims and Are Not Insiders                                                                                                                         04/16

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
largest unsecured claims.


Name of creditor and complete     Name, telephone number, and email         Nature of the        Indicate if     Amount of unsecured claim
mailing address, including zip    address of creditor contact               claim (for           claim is        If the claim is fully unsecured, fill in only unsecured
code                                                                        example, trade       contingent,     claim amount. If claim is partially secured, fill in total
                                                                            debts, bank loans,   unliquidated,   claim amount and deduction for value of collateral or
                                                                            professional         or disputed     setoff to calculate unsecured claim.
                                                                            services)
                                                                                                                  Total claim, if        Deduction       Unsecured
                                                                                                                 partially secured      for value of       claim
                                                                                                                                        collateral or
                                                                                                                                           setoff
   Quinn Emanuel                  Andrew Berdon                              Professional        Contingent                                              $178,130.04
   865 S. Figueroa St             andrewberdon@quinnemanuel.com               Services
   10th Floor                     (212) 849-7107
   Los Angeles, CA
   90017
   AtelierNY Architecture         Jonathan Miller                            Professional        Contingent                                              $145,282.98
   21-34 44th Road                jmiller@atelierny.com                       Services
   Long Island City, NY           (718) 707-9550
   11101



   Akerman LLP                    Rema Awad                                  Professional                                                                 $55,569.05
   50 North Laura Street          rema.awad@akerman.com                       Services
   Suite 3100                     (904) 598-8668
   Jacksonville, FL
   32202

   Gasthalter & Co.               Jonathan Gasthalter                        Professional                                                                 $39,231.88
   733 Third Avenue 16th          jg@gasthalter.com                           Services
   Floor                          (212) 257 4170
   New York, NY
   10017

   DelBello Donnellan             Alfred E. Donnellan                        Professional                                                                 $19,572.84
   Weingarten Wise                AED@ddw-law.com                             Services
   1 North Lexington Ave.         (914) 681-0200
   White Plains, NY
   10601
   BDO USA LLP                    Paul Davison                               Professional                                                                 $18,000.00
   501 Riverside Avenue           PDavison@bdo.com                            Services
   Suite 800                      (904) 396-4015
   Jacksonville, FL
   32202
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Name of creditor and complete    Name, telephone number, and email      Nature of the        Indicate if     Amount of unsecured claim
mailing address, including zip   address of creditor contact            claim (for           claim is        If the claim is fully unsecured, fill in only unsecured
code                                                                    example, trade       contingent,     claim amount. If claim is partially secured, fill in total
                                                                        debts, bank loans,   unliquidated,   claim amount and deduction for value of collateral or
                                                                        professional         or disputed     setoff to calculate unsecured claim.
                                                                        services)
                                                                                                              Total claim, if        Deduction       Unsecured
                                                                                                             partially secured      for value of       claim
                                                                                                                                    collateral or
                                                                                                                                       setoff
   Maniglia, Andrew              Andrew Maniglia                           Employee                                                                   $16,224.07
   15 Eastview Drive             amaniglia@StandardAmusements.com           Wages
   Valhalla, NY
   10595
   SS KS LLC (Sunshine           John Schaefer                           Professional                                                                 $16,000.00
   Sachs)                        schaefer@sunshinesachs.com               Services
   136 Madison Avenue            (212) 691-2800
   17th Floor
   New York, NY
   10016
   Berni, Beau                   Beau Berni                                Employee                                                                   $15,583.33
   6798 Tarfford Ct.             bberni@unitedparks.com                     Wages
   Liberty Township, OH
   45044

   Harding, John             John Harding                                  Employee                                                                   $13,500.00
   353 East 83rd Street, 8-H jharding@StandardAmusements.com                Wages
   New York, NY
   10028
   PLA Patricia Lynch      Patricia Lynch                                Professional                                                                  $5,000.00
   Associates Inc.         (518) 650-7169                                 Services
   677 Broadway, Suite 205
   Albany, NY
   12207
   Bell, Georgia                 Georgia Bell                              Employee                                                                    $2,500.00
   540 Fourth Street             gbell@StandardAmusements.com               Wages
   Mamaroneck, NY
   10543



   TVEyes Inc.                   Dan Miles                               Professional                                                                  $2,400.00
   1150 Post Road                dmiles@tveyes.com                        Services
   Fairfield, CT                 (203) 254-3600
   06824
   Williams Scotsman             Legal Department                             Property                                                                 $1,597.00
   901 S. Bond Street            (800) 638-6963                                Lease
   Suite 600                     (410) 933-5940 (fax)
   Baltimore, MD
   21231-3357

   Intrinzic Technologies,       Robert Corride                          Professional                                                                   $644.26
   LLC                           rcorride@intrinzictech.com               Services
   10 Ellsworth Avenue
   Staten Island, NY
   10312
   Keeler, Evonne                Evonne Keeler                             Employee                                                                     $334.65
   137 Linden Avenue             ekeeler@unitedparks.com                    Wages
   Emerson, NJ
   07630
   Optimum                       (914) 777-9000                           Trade Debt                                                                    $222.03
   PO Box 9256
   Chelsea, MA
   02150-9256

                                                                          2
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Name of creditor and complete    Name, telephone number, and email      Nature of the        Indicate if     Amount of unsecured claim
mailing address, including zip   address of creditor contact            claim (for           claim is        If the claim is fully unsecured, fill in only unsecured
code                                                                    example, trade       contingent,     claim amount. If claim is partially secured, fill in total
                                                                        debts, bank loans,   unliquidated,   claim amount and deduction for value of collateral or
                                                                        professional         or disputed     setoff to calculate unsecured claim.
                                                                        services)
                                                                                                              Total claim, if        Deduction       Unsecured
                                                                                                             partially secured      for value of       claim
                                                                                                                                    collateral or
                                                                                                                                       setoff
   New York State                                                          Tax Fees                                                                      $50.00
   Department of Taxation
   and Finance
   Bankruptcy Section
   PO Box 5300
   Albany, NY 12205-0300




                                                                          3
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                                                                             Pg 12 of 16
  Fill in this information to identify the case and this filing:


  Debtor Name    Standa rd Amusements LLC
  United States Bankruptcy Court for the: ""
                                          S'""o'""u""t""'
                                                       h""e""'
                                                            rn'-'------- District of   N ew York
                                                                                       (State)
  Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                     12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



              Declaration and signature



          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          D     Schedule AIB: Assets-Real and Personal Property (Official Form 206A/B)

          D     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

          D     Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)

          D     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

          D     Schedule H: Codebtors (Official Form 206H)

          D     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          D     Amended Schedule


          � Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


          D     Other document that requires a declaration________________________________




         Executed on        05/27/2019                           X
                            MM/ DD/YYYY



                                                                      Nicholas Singer
                                                                      Printed name

                                                                      Authorized Person
                                                                      Position or relationship to debtor



Official Form 202                              Declaration Under Penalty of Perjury for Non-Individual Debtors
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

------------------------------------------------------------ x
                                                             :
In re:                                                       : Chapter 11
                                                             :
STANDARD AMUSEMENTS LLC, 1                                   : Case No. 19-_____ (RDD)
                                                             :
                                             Debtor.         :
                                                             :
------------------------------------------------------------ x


                                  CORPORATE OWNERSHIP STATEMENT

        Pursuant to Bankruptcy Rules 1007(a)(1) and 7007.1, the following is a list of any
corporation, other than a governmental unit, that directly or indirectly owns 10% or more of any
class of equity interests in the above-captioned debtor.

              Debtor                        Direct Owner(s)                           Indirect Owners 2
    Standard Amusements LLC           (1) United Parks Holdings                  (1) United Parks, LLC
                                          LLC                                    (2) PCI UP LLP
                                      (2) Dragon Partners, LLC                   (3) Jadian UP Holdings LLC




1
 The last four digits of Debtor’s federal tax identification number is: 0982, and the address of the Debtor’s principal
place of business is 1 Playland Parkway, Rye, New York 10580.
2
 The entities listed below include entities that manage multiple direct or indirect owners who, in the aggregate, own
10% or more of any class of equity interests in the Debtor.
          19-23061-rdd              Doc 1       Filed 05/27/19           Entered 05/27/19 21:47:08                    Main Document
  Fill in this information to identify the case and this filing:
                                                                        Pg 14 of 16

  Debtor Name Standard Amusements LLC

  United States Bankruptcy Court for the: ~S~o~u~t~he~r~n~----- District of New York
                                                                               (State)
  Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                     12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



              Declaration and signature



          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          0      Schedule NB: Assets-Rea/ and Personal Property (Official Form 206NB)

          0      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

          0      Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)

          0      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

          0      Schedule H: Codebtors (Official Form 206H)

          0      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          0      Amended Schedule


          0      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


          !Sa'   Other document that requires a declaration~C~o~r_p~o~r~a~te~O~w~n~e~rs=h~i~p_S~ta=t~e~m~e~n~t~----- -- - - - --              ---




         I declare under penalty of perjury that the foregoing is true and corr' ct.


         Executed on        05/27/2019                       X
                            MM/DD/YYYY




                                                                 Nicholas Singer
                                                                 Printed name

                                                                 Authorized Person
                                                                 Position or relationship to debtor


Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
19-23061-rdd         Doc 1      Filed 05/27/19       Entered 05/27/19 21:47:08                 Main Document
                                                    Pg 15 of 16


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

------------------------------------------------------------ x
                                                             :
In re:                                                       : Chapter 11
                                                             :
STANDARD AMUSEMENTS LLC, 1                                   : Case No. 19-_____ (RDD)
                                                             :
                                             Debtor.         :
                                                             :
------------------------------------------------------------ x


                                   LIST OF EQUITY SECURITY HOLDERS

        Pursuant to Bankruptcy Rule 1007(a)(3), the following is a list of entities holding an
interest in the above-captioned interest.

   Name and Last Known                       Nature of Interest Held                   Amount of Interest Held
     Address or Place of
       Business Holder
 United Parks Holdings LLC              Membership Interest                         90%
 Dragon Partners, LLC                   Membership Interest                         10%




1
  The last four digits of Debtor’s federal tax identification number is: 0982, and the address of the Debtor’s principal
place of business is 1 Playland Parkway, Rye, New York 10580.
         19-23061-rdd                   Doc 1          Filed 05/27/19               Entered 05/27/19 21:47:08                                Main Document
  Fill in this information to identify the case and this filing :                  Pg 16 of 16

  Debtor Name Standard Amusements LLC

  United States Bankruptcy Court for the: ~S~o~u~t~he=r~n~----- District of New York
                                                                                           (State)
  Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
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1519, and 3571.



              Declaration and signature



          I am the president, another officer, or an authorized agent of the corporation ; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          D      Schedule AIB: Assets-Real and Personal Property (Official Form 206A/B)

          D      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 2060)

          D      Schedule EJF: Creditors Who Have Unsecured Claims (Official Form 206E/F)

          D      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

          D      Schedule H: Codebtors (Official Form 206H)

          D      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          D      Amended Schedule


          D      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


          !Sa'   Other document that requires a declaration~L=i=st~o~f=E=g,_.,,u~itc.,y_S=e=c=u~ric-=.ty1--'--H-'-'o"""'l=d=e-'-'
                                                                                                                              r s ~ - - - - --   ----------




         I declare under penalty of perjury that the foregoing is true and correct.


         Executed on         05/27/2019
                            MM/ DD/YYYY




                                                                            Nicholas Singer
                                                                            Printed name

                                                                            Authorized Person
                                                                            Position or relationsh ip to debtor


Official Form 202                                  Declaration Under Penalty of Perjury for Non-Individual Debtors
